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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                                                                  1/28/2021

                v.

 NAREK MARUTYAN,                                                  PROTECTIVE ORDER
 ALBERT MARUTYAN,
      A/K/A “ABO,”                                                     20 Cr. 652 (VM)
 MIKAYEL YEGHOYAN,
      A/K/A “MISHO,”
 DAVIT YEGHOYAN,
 VAHE HOVHANNISYAN,
 LUSINE GHAZARYAN,
 SARO MOURADIAN,
      A/K/A “PAUL MOURADIAN,”
 ZAVEN YERKARYAN,

                            Defendants.



       Upon the application of the United States of America, with the consent of the undersigned

counsel, the Court hereby finds and orders as follows:

       1. Disclosure Material. The Government will make disclosure to the defendants of

documents, objects and information, including electronically stored information (“ESI”), pursuant

to Federal Rule of Criminal Procedure 16, 18 U.S.C. §3500, and the Government’s general

obligation to produce exculpatory and impeachment material in criminal cases, all of which will

be referred to herein as “disclosure material.” The Government’s disclosure material may include

material that (i) affects the privacy and confidentiality of individuals, including personal

identifying information; (ii) would impede, if prematurely disclosed, the Government’s ongoing

investigation of uncharged individuals; (iii) would risk prejudicial pretrial publicity if publicly

disseminated; and (iv) is not authorized to be disclosed to the public or disclosed beyond that which

is necessary for the defense of this criminal case.
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       2. Sensitive Disclosure Material. Certain of the Government’s disclosure material,

referred to herein as “sensitive disclosure material,” contains information that identifies, or could

lead to the identification of, witnesses who may be subject to intimidation or obstruction, and

whose lives, persons, and property, as well as the lives, persons and property of loved ones, will

be subject to risk of harm absent the protective considerations set forth herein. The Government’s

designation of material as sensitive disclosure material will be controlling absent contrary order of

the Court. The parties reserve the right to bring to the Court’s attention any dispute regarding the

designation of sensitive disclosure material that cannot be resolved by the parties without

intervention by the Court.

       3. Facilitation of Discovery. The entry of a protective order in this case will permit the

Government to produce expeditiously the disclosure material without further litigation or the need

for excessive redaction. It will also afford the defense prompt access to those materials, which

will facilitate the preparation of the defense.

NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

       4. Disclosure material shall not be disclosed by the defendant or defense counsel,

including any successor counsel (“the defense”) other than as set forth herein, and shall be used

by the defense solely for purposes of defending this action. The defense shall not post any

disclosure material on any Internet site or network site to which persons other than the parties

hereto have access, and shall not disclose any disclosure material to the media or any third party

except as set forth below.




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       5. Disclosure material that is not sensitive disclosure material may be disclosed by

counsel to:

                 (a) The defendants for purposes of defending this action;

                 (b) Personnel for whose conduct counsel is responsible, i.e., personnel employed

by or retained by counsel, as needed for purposes of defending this action;

                 (c) Prospective witnesses for purposes of defending this action.

       6. Sensitive disclosure material shall be kept in the sole possession of counsel, shall not

be reviewed or maintained by the defendant outside the presence of counsel or personnel employed

by or retained by counsel, shall not be copied or otherwise recorded by the defendants, and may

be disclosed by counsel only to:

              (a) Personnel for whose conduct counsel is responsible, i.e., personnel employed by or

retained by counsel, as needed for purposes of defending this action.

       7. Counsel or personnel employed by or retained by counsel may display sensitive

disclosure material virtually to the defendant; the defendant may not capture, either by screenshot,

photograph or any other means, any or part of the sensitive disclosure material. The Government

may authorize, in writing, disclosure of disclosure material beyond that otherwise permitted by

this Order without further Order of this Court.

       8. This Order does not prevent the disclosure of any disclosure material in any hearing or

trial held in this action, or to any judge or magistrate judge, for purposes of this action. However,

sensitive disclosure material pertinent to any motion before the Court should initially be filed under




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seal, absent consent of the Government or Order of the Court. All filings should comply with the

privacy protection provisions of Fed. R. Crim. P. 49.1.

       9. Except for disclosure material that has been made part of the record of this case, the

defense shall return to the Government or securely destroy or delete all disclosure material within

30 days of the expiration of the period for direct appeal from any verdict in the above-captioned

case; the period of direct appeal from any order dismissing any of the charges in the above-

captioned case; or the granting of any motion made on behalf of the Government dismissing any

charges in the above-captioned case, whichever date is later. If disclosure material is provided to

any prospective witnesses, counsel shall make reasonable efforts to seek the return or destruction

of such materials. This provision does not apply to any disclosure material that belongs to the

defendant himself or herself.

       10. The defense shall provide a copy of this Order to prospective witnesses and persons

retained by counsel to whom the defense has disclosed disclosure material or the Government’s

ESI production. All such persons shall be subject to the terms of this Order. Defense counsel shall

maintain a record of what information has been disclosed to which such persons.

       11. This Order places no restriction on a defendant’s use or disclosure of ESI that originally

belonged to the defendant.




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                                   Retention of Jurisdiction
       12. The provisions of this order shall not terminate at the conclusion of this criminal

prosecution and the Court will retain jurisdiction to enforce this Order following termination of

the case.


AGREED AND CONSENTED TO:

   AUDREY STRAUSS
   United States Attorney


by: ____________________________                    Date: __January 19, 2021_____
    Benet J. Kearney
    Abigail S. Kurland
    Assistant United States Attorneys


   ____________________________                     Date: _____________________
   Dennis Ring, Esq.
   Counsel for Narek Marutyan


   ___________________________                      Date: _____________________
   Boris Nektalov, Esq.
   Counsel for Albert Marutyan


   __________________________                       Date: _____________________
   James Froccaro, Esq.
   Counsel for Mikayel Yeghoyan


   ___________________________                      Date: _____________________
   Sanford Talkin, Esq.
   Albert Dayan, Esq.
   Counsel for Davit Yeghoyan



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                                       Retention of Jurisdiction
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prosecution and the Court      will retain jurisdiction to enforce this Order following termination of

the case.


AGREED AND CONSENTED TO:

      AUDREY STRAUSS
      United States Attorney


by:                                                     Date:
       Benet J. Kearney
       Abigail S. Kurland
       Assistant United States Attorneys


                                                                     lt
                                                        Date:      lbe,   lt   t
      Dennis Ring, Bsl
      Counsel for Narek Marut



                                                       Date:
      Boris Nektalov, Esq.
      Counsel for Albert Marutvan



                                                       Date:
      James Froccaro, Esq.
      Counsel for Mikayel Yeghoyan



                                                       Date:
      Sanford Talkin, Esq.
      Albert Dayan, Esq.
      Counsel for Davit Yeghoyan
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   __________________________             Date: _____________________
   Harvey Fishbein, Esq.
   Counsel for Vahe Hovannisyan


   ___________________________            Date: _____________________
   Hugh G. Jasne, Esq.
   Counsel for Lusine Ghazaryan


   Bennett M. Epstein_______              Date: _1/19/21____________________
   Bennett Epstein, Esq.
   Counsel for Saro Mouradian


   __________________________             Date: _____________________
   Jeffrey Chartier, Esq.
   Counsel for Zaven Yarkaryan



SO ORDERED:

Dated: New York, New York
       January ___, 2021

                                          ____________________________________
                                          THE HONORABLE VICTOR MARRERO
                                          UNITED STATES DISTRICT JUDGE




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